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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 CHELSEA DAVIS,                             §
                                            §
      Plaintiff,                            §
                                            §
 v.                                         §   CIVIL ACTION NO. 3:15-CV-0495-B
                                            §
 LESLIE D. WARE, et al.,                    §
                                            §
      Defendants.                           §

                                  ORDER TO TRANSFER

         This case is TRANSFERRED to the docket of the Honorable Judge David C. Godbey. All

future pleadings will be filed under case number 3:15-CV-0495-N.



         SO ORDERED.

         SIGNED: February 18, 2015.


                                           _________________________________
                                           JANE J. BOYLE
                                           UNITED STATES DISTRICT JUDGE
